Case 4:23-cv-03560   Document 271-9   Filed on 06/20/25 in TXSD   Page 1 of 9




                     Exhibit H
                     (Excerpt)
  Case 4:23-cv-03560             Document 271-9       Filed on 06/20/25 in TXSD     Page 2 of 9




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


  FEDERAL TRADE COMMISSION,

                    Plaintiff,                              Case No.: 4:23-CV-03560-KH

               v.

  U.S. ANESTHESIA PARTNERS, INC.,

                    Defendant.



  FEDERAL TRADE COMMISSION’S RESPONSES AND OBJECTIONS TO USAP’s
                  FIRST SET OF INTERROGATORIES

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Federal

Trade Commission (“FTC”) submits these Responses and Objections to Defendant U.S.

Anesthesia Partners, Inc.’s (“USAP”) First Set of Interrogatories to the Federal Trade

Commission (“Interrogatories”), dated October 16, 2024. The FTC responds to these

Interrogatories to the best of its present ability after a reasonably diligent inquiry. Discovery in

this matter, however, is ongoing, and the FTC reserves its right to supplement, revise, or correct

any of its responses pursuant to Fed. R. Civ. P. 26(e), and to present at trial additional evidence

or witnesses as they may be discovered or produced.

General Objection

       The FTC objects to the Interrogatories to the extent they purport to represent six discrete

interrogatories. Counted properly, USAP has served 25 separate interrogatories, each of which

can be fully answered without reference to the others. See Nance-Bush v. Lone Star Coll. Sys.

Dist., 337 F.R.D. 135, 137 (S.D. Tex. 2021) (quoting Dimitrijevic v. TV & C GP Holding Inc.,


                                                  1
  Case 4:23-cv-03560        Document 271-9            Filed on 06/20/25 in TXSD      Page 3 of 9




Interrogatory No. 5

        For each acquisition or agreement that You contend constitutes any part of the alleged
“multi-year anticompetitive scheme to consolidate anesthesia practices in Texas, drive up the
price of anesthesia services provided to Texas patients, and increase [USAP’s] own profits”
(Compl. ¶ 1), identify USAP’s purported share of any Relevant Market both before and after that
acquisition or agreement, and each fact supporting any such contention (including the identity,
nature, and (if applicable) Date range of each source of data or other information used in
calculating such market-share figure, and the manner in which You processed or otherwise
manipulated that data or information to arrive at the figures alleged in the Complaint (including
but not limited to any manual or automated method, computer programs, or formulas You used to
arrive at such market share allegations)).

Answers and Objections to Interrogatory No. 5

       The FTC objects to Interrogatory No. 5 to the extent it purports to represent one discrete

interrogatory. Instead, Interrogatory No. 5 asks the FTC to respond to four separate questions,

each of which can be fully answered without reference to the others: (1) USAP’s market share of

hospital-only anesthesia service both before and after each challenged acquisition in the Houston

MSA; (2) USAP’s market share of hospital-only anesthesia service both before and after each

challenged acquisition in the Dallas MSA; (3) USAP’s market share of hospital-only anesthesia

service both before and after each challenged acquisition in the Austin MSA; and (4) the source

of data or other information used in calculating the market share figures in the Complaint,

including the manner in which such data was processed. See Nance-Bush v. Lone Star Coll. Sys.

Dist., 337 F.R.D. 135, 137 (S.D. Tex. 2021) (quoting Dimitrijevic v. TV & C GP Holding Inc.,

No. H-04-3457, 2005 WL 8164073 (S.D. Tex. Aug. 24, 2005)) (to determine the number of

discrete interrogatories, “a court asks if the first question can be answered fully and completely

without answering the second question.”).

       The FTC further objects to Interrogatory No. 5 to the extent that it seeks information

underlying the FTC’s methodology for “process[ing] or otherwise manipulat[ing]…data or

information to arrive at the figures alleged in the Complaint,” which is the product of legal and


                                                 26
  Case 4:23-cv-03560         Document 271-9           Filed on 06/20/25 in TXSD      Page 4 of 9




economic analyses performed by FTC counsel and their agent. Such analyses are protected from

disclosure under the attorney work product doctrine and deliberative process privilege.

       The FTC further objects to Interrogatory No. 5 as premature to the extent it seeks

information and evidence subject to ongoing fact and expert discovery, which is not scheduled to

close until October 22, 2025. See, e.g., Werner Enterprises, Inc. v. Picus S.A. De C.V., No. 5:14-

CV-104, 2016 WL 11736166, at *2 (S.D. Tex. Apr. 29, 2016) (“[C]ontention interrogatories are

too often used at the outset of a litigation to harass the opposition knowing that the responses at

that stage will produce little useful information.”) (quoting In re Checking Account Overdraft

Litig., 2010 WL 5136043, at *3 (S.D. Fla. Dec. 16, 2010)); id. (“[B]efore litigants have

exchanged ‘substantial documentary or testimonial discovery,’ courts hesitate to compel parties

to respond to contention requests.”) (quoting Fischer & Porter Co. v. Tolson, 143 F.R.D. 93, 96

(E.D. Pa. 1992)). The FTC will respond to this Interrogatory No. 5 based on the market share

calculations identified in the Complaint.

       The FTC further objects to Interrogatory No. 5 as overbroad and unduly burdensome to

the extent it purports to require the FTC to identify “each fact” supporting its position. See TIG

Ins. Co. v. Woodsboro Farmers Coop., No. 5:18-CV-191, 2020 WL 12573285, at *2 (S.D. Tex.

Apr. 7, 2020) (“[C]ontention interrogatories should not request a detailed and exhaustive list of

all evidence that may be offered.” (internal quotation omitted)). “By requesting [the FTC] to

identify each fact … that supports your contention … [USAP] is effectively requesting a detailed

exhaustive list of all evidence.” Id. (cleaned up)). The FTC has conducted a reasonable search

and provided non-privileged information responsive to Interrogatory No. 5 that is within its

custody and control.

       Subject to and without waiving the above objections, the FTC responds as follows:



                                                 27
  Case 4:23-cv-03560         Document 271-9           Filed on 06/20/25 in TXSD      Page 5 of 9




       1. Market share information for each challenged acquisition in the Houston MSA

       The FTC’s Complaint alleges that USAP perpetrated a “multi-year anticompetitive

scheme to consolidate anesthesia practices in Texas, drive up the price of anesthesia services

provided to Texas patients, and increase [USAP’s] own profits.” Compl. ¶ 1. The Complaint

alleges that, with each subsequent acquisition, USAP increased its market share and further

concentrated the market for hospital-only anesthesia services in the Houston MSA, and that

USAP helped insulate its high market shares in Houston from competition through two price-

setting arrangements. Compl. ¶¶ 261-73 & Tables 1-2. The Complaint alleges that the following

acquisitions are part of the “multi-year anticompetitive” consolidation scheme in the Houston

MSA: (1) Greater Houston Anesthesiology; (2) North Houston Anesthesiology; (3) MetroWest

Anesthesia Care; and (4) Guardian Anesthesia.

       The FTC analyzed the level of market concentration before and after these acquisitions,

including through the use of the Herfindahl-Hirschman Index (HHI), a commonly accepted

measure of market concentration. Merger Guidelines § 2.1. HHI is calculated by summing the

squares of the market share of each market participant. Courts routinely employ the HHI to

assess whether a transaction will cause a change in market concentration and, if that change is

impermissibly high, whether the transaction is likely to result in a substantial lessening of

competition. See, e.g., Chi. Bridge & Iron Co. v. FTC, 534 F.3d 410 (5th Cir. 2008) (citing

Merger Guidelines). The Merger Guidelines, and cases in this Circuit, state that a merger is

presumed to substantially lessen competition if the market HHI is greater than 1,800 and if the

change in market HHI caused by the merger is greater than 100. Id. at 431 (“Where the post-

merger HHI exceeds 1,800, and the merger produces an increase in the HHI of more than 100

points, the merger guidelines create a presumption of adverse competitive consequences.”);



                                                 28
  Case 4:23-cv-03560        Document 271-9            Filed on 06/20/25 in TXSD      Page 6 of 9




Illumina, Inc. v. FTC, 88 F.4th 1036, 1057 (5th Cir. 2023) (“In horizontal merger cases, the

government can ‘use a short cut to establish [its prima facie case] through statistics about the

change in market concentration.’” (citations omitted)). The FTC’s HHI analysis is summarized in

the Complaint in Tables 1 and 2, and found that at least three of USAP’s acquisitions in the

Houston MSA meet this structural presumption, measured by either cases or revenue: North

Houston Anesthesiology; MetroWest Anesthesia Care; and Guardian Anesthesia Services.

       In the Houston MSA, USAP’s consolidation scheme combined four significant anesthesia

practices. In addition to the acquisitions identified above that meet the structural presumption,

USAP’s initial platform acquisition of Greater Houston Anesthesiology is part of this unlawful

scheme to monopolize the Houston MSA. Following its roll-up, USAP had a nearly 70% market

share, by revenue, of hospital-only anesthesia services in the Houston MSA. USAP has

demonstrated its ability to increase prices while retaining its market share in the Houston MSA.

As of the time of the Complaint, USAP charged approximately double the median

reimbursement rate for anesthesia services in the Houston MSA. Despite charging the highest

prices in the Houston MSA, USAP’s volume of cases has grown significantly.

       Based on the allegations in the Complaint, the following table identifies USAP’s market

share of hospital-only anesthesia services, before and after the acquisitions in the Houston MSA.

The FTC reserves the right to update these numbers as discovery progresses, including expert

discovery. See FTC’s Response to Interrogatories No. 3 and No. 6 for additional facts that

support the FTC’s position that the identified acquisitions are unlawful.




                                                 29
  Case 4:23-cv-03560        Document 271-9             Filed on 06/20/25 in TXSD     Page 7 of 9




                                          Table 1
                Houston Acquisitions – Hospital-Only Anesthesia Services


                                                USAP                     USAP
     Date            Acquired              Pre-Acquisition          Post-Acquisition
                     Group                  Market Share              Market Share
                                           By        By                          By
                                                                  By Cases
                                          Cases   Revenue                     Revenue

                     Greater Houston
     12/27/2012                            0%             0%       39.0%     50.5%
                     Anesthesiology


                     North Houston
     6/24/2014                           38.75%         51.1%      43.2%       54.3%
                     Anesthesiology


                     MetroWest
     3/1/2017                             46.4%         55.7%      53.4%       61.8%
                     Anesthesia Care

                     Guardian
     1/1/2020        Anesthesia           56.7%         69.5%      60.8%       73.4%
                     Services



       2. Market share information for each challenged acquisition in the Dallas MSA

       The FTC’s Complaint alleges that USAP perpetrated a “multi-year anticompetitive

scheme to consolidate anesthesia practices in Texas, drive up the price of anesthesia services

provided to Texas patients, and increase [USAP’s] own profits.” Compl. ¶ 1. The Complaint

alleges that, with each subsequent acquisition, USAP increased its market share and further

concentrated the market for hospital-only anesthesia services in the Dallas MSA, and that USAP

helped insulate its high market shares in Dallas from competition through a market-allocation

arrangement and a price-setting arrangement. Compl. ¶¶ 274-85 & Tables 3-4. The Complaint

alleges that the following acquisitions are part of the “multi-year anticompetitive” consolidation

                                                  30
  Case 4:23-cv-03560         Document 271-9           Filed on 06/20/25 in TXSD      Page 8 of 9




scheme in the Dallas MSA: (1) Pinnacle Anesthesia Consultants; (2) Anesthesia Consultants of

Dallas; (3) Excel Anesthesia Consultants; (4) Southwest Anesthesia Associates; (5) BMW

Anesthesiology; (6) Medical City Physicians; and (7) Sundance Anesthesia.

       The FTC analyzed the level of market concentration before and after these acquisitions,

including through the use of the Herfindahl-Hirschman Index (HHI), a commonly accepted

measure of market concentration. Merger Guidelines § 2.1. HHI is calculated by summing the

squares of the market share of each market participant. Courts routinely employ the HHI to

assess whether a transaction will cause a change in market concentration and, if that change is

impermissibly high, whether the transaction is likely to result in a substantial lessening of

competition. See, e.g., Chi. Bridge & Iron Co. v. FTC, 534 F.3d 410 (5th Cir. 2008) (citing

Merger Guidelines). The Merger Guidelines, and cases in this District, state that a merger is

presumed to substantially lessen competition if the market HHI is greater than 1,800 and if the

change in market HHI caused by the merger is greater than 100. Id. at 431 (“Where the post-

merger HHI exceeds 1,800, and the merger produces an increase in the HHI of more than 100

points, the merger guidelines create a presumption of adverse competitive consequences.”);

Illumina, Inc. v. FTC, 88 F.4th 1036, 1057 (5th Cir. 2023) (“In horizontal merger cases, the

government can ‘use a short cut to establish [its prima facie case] through statistics about the

change in market concentration.’” (citations omitted)). The FTC’s HHI analysis for the Dallas

MSA is summarized in the Complaint in Tables 3 and 4, and found that at least four of USAP’s

acquisitions in the Dallas MSA meet this structural presumption, measured by cases, revenue, or

both: Anesthesia Consultants of Dallas; Excel Anesthesia Consultants; Southwest Anesthesia

Associates; and Sundance Anesthesia. Association. Compl. ¶¶ 274-85 & Tables 3-4.




                                                 31
  Case 4:23-cv-03560        Document 271-9           Filed on 06/20/25 in TXSD      Page 9 of 9




       Some acquisitions which do not meet the HHI structural presumption identified above are

also unlawful as part of USAP’s anticompetitive scheme to monopolize the Dallas MSA. In the

Dallas MSA, USAP’s consolidation scheme combined seven significant anesthesia practices. In

addition to the acquisitions identified above that meet the structural presumption, USAP’s initial

platform acquisition of Pinnacle Anesthesia Consultants, as well as its acquisitions of BMW

Anesthesiology and Medical City Physicians, are part of this unlawful scheme to monopolize the

Dallas MSA. Following its roll-up, USAP had a 68% market share, by revenue, of hospital-only

anesthesia services in the Dallas MSA. USAP has demonstrated its ability to increase prices

while retaining its market share in the Dallas MSA. Specifically, as of the time of the Complaint,

USAP charged approximately double the median reimbursement rate for anesthesia services in

the Dallas MSA. Despite charging the highest prices in the Dallas MSA, USAP’s volume of

cases has grown significantly.

       Based on the allegations in the Complaint, the following table identifies USAP’s market

share of hospital-only anesthesia services, before and after the acquisitions in the Dallas MSA.

The FTC reserves the right to update these numbers as discovery progresses, including expert

discovery. See FTC’s Response to Interrogatories No. 3 and No. 6 for additional facts that

support the FTC’s position that the identified acquisitions are unlawful.




                                                32
